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                                      Within 30 days after service of Subpoena
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       THIS EXHIBIT MAY INCLUDE THE NAMES OF INDIVIDUALS WHO
       ARE VICTIMS OF HUMAN TRAFFICKING OR SEXUAL ABUSE, AND
            THEREFORE SHOULD BE TREATED AS CONFIDENTIAL
                     AND NOT PUBLICLY DISCLOSED.

                                                 EXHIBIT A
I.           Definitions
      Unless otherwise specified, the documents specified below are required to be produced for the
      time period commencing January 1, 1998 and continuing through the present. Where
      production of account data is provided in electronic format or media the preferred software
      format to incorporate the data into is Microsoft Excel.

      As used herein, the following terms are defined as indicated:

         1. “All/Each.” The term “all” and “each” shall be construed as all and each.

         2. “And/Or.” The connectives “and” and “or” shall be construed either disjunctively or
            conjunctively as necessary to bring within the scope of the discovery request all
            responses that might otherwise be construed to be outside of its scope.

         3. “Communication” means the transmittal of information (in the form of facts, ideas,
            inquiries or otherwise).

         4. The terms “Document” or “Documents” are defined to be synonymous and equal in
            scope to the usage of these terms in Federal Rule of Civil Procedure 34(a), including,
            without limitation, any written, drawn, printed, typed, photographed or other graphic or
            electronically or computerized recorded data or compilations of any kind or nature
            prepared or received by, or in the possession, custody or control of the answering party,
            its agents, servants, employees or other representatives. Originals, drafts and all non-
            identical copies are separate documents within the meaning of this term.

         5. “Referring to”, “relating to”, “reflecting”, “regarding” or “with respect to” mean, without
             limitation the concepts: pertain to, deal with, concern, reflect, record, report, constitute,
             contain, mention, describe, discuss, analyze, evaluate, estimate, study, survey, project,

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          assess, support, modify, contradict, criticize, summarize, comment, or otherwise involve,
          in whole or in part.


      6. “You” and “Your” shall mean Cathy Alexander. These terms also shall be deemed to
          include all agents and other persons acting or authorized to act on her behalf.


II.       Instructions
      1. When providing Your responses, indicate the Request to which each Document or answer
          responds in the metadata field, RequestNo.


      2. Documents produced pursuant to these Requests shall be produced as they are kept in the
          ordinary course of business.


      3. For each Document that You produce, produce the current version together with all earlier
          editions or predecessor Documents during the relevant time period, even though the title
          of earlier Documents may differ from current versions. Format for Documents produced
          electronically:
                  a.        Data shall be produced in single page TIFFs at a 300 DPI resolution which
                            are named for the Bates Number of the page. There shall be no more than
                            1000 images per folder. Bates numbers, confidentiality designations, and
                            redactions shall be burned into the TIFF image file so as not to unreasonably
                            obstruct any information on the page.
                  b.        Document Unitization. Each page of a Document shall be electronically
                            converted into an image as described above. If a Document is more than
                            one page, the unitization of the Document and any attachments and/or
                            affixed notes shall be maintained as it existed in the original when creating
                            the image file and appropriately designated in the load files. The
                            corresponding parent/attachment relationships, to the extent possible, shall
                            be provided in the load files furnished with each production.
                  c.        Include Document level text files containing optical character recognition
                            (“OCR”) or extracted text named with the Bates Number of the first page
                            of the Document.
                  d.        Include data load files containing all of the metadata fields (both system and
                                                        2
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                         application – see list below) from the original Native Documents with
                         extension.dat for Concordance.
                e.       Include the database field name in the first line of the metadata file, in such
                         a manner that it is clear how the metadata is organized in the file.
                f.       Include an image loadfile for Concordance – such as .opt.
                g.       All hidden text (e.g., track changes, hidden columns, comments, notes, etc.)
                         shall be expanded, extracted, and rendered in the .TIFF file.
                h.       Documents created in Excel (spreadsheets), .CSV files, Access (databases),
                         and audio and video media files shall be produced in Native format. The
                         extractable metadata and text shall be produced in the same manner as other
                         Documents that originated in electronic form (as described herein) to the
                         extent that metadata exists or is reasonably accessible.
                i.       Email attachments and embedded files or links shall be mapped to their
                         parent.
                j.       Produce all attachments to responsive Documents attached to the responsive
                         Documents.
                k.       De-duplicate prior to production. To the extent that exact duplicate
                         Documents (based on MD5 or SHA-1 hash values at the Document level)
                         reside within a party’s data set, each party is only required to produce a
                         single copy of a responsive Document, so long as there is a data field that
                         identifies each custodian who had a copy. In addition, Documents may be
                         de-duplicated in such a way as to eliminate earlier or incomplete chains of
                         emails, and produce only the most complete iteration of an email chain so
                         long as there is a data field that identifies each custodian who had a copy.

REQUIRED METADATA FIELDS:


 BEGDOC                                              ENDDOC

 BEGATTACH                                           ENDATTACH

 ATTCOUNT                                            ATTACH

 CUSTODIAN                                           AUTHOR

 FROM                                                TO



                                                      3
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 CC                                                  BCC

 FILESIZE                                            PGCOUNT

 DATERECD                                            TIMERECD

 DATESENT                                            TIMESENT

 CRTDATE                                             CRTTIME

 LASTMODDATE                                         LASTMODTIME

 LASTACCDATE                                         LASTACCTIME

 TITLE                                               SUBJECT

 EMAILSUBJECT                                        FILENAME

 FILEEXT                                             MD5HASH

 ORGANIZATION                                        FULLPATH

 RECORD_TYPE                                         VERSION

 VOLUME                                              COMMENT

 PRINTEDDATE                                         ENTRYID

 ATTLST                                              ITEMTYPE

 PSTINSIDEPATH                                       ITEMCREATIONTIME

 REQATTANDEES                                        REMINDERTIME

 REPLYTIME                                           APPOINTMENTSTARTDATE

 APPOINTMENTDURATIONTIME                             APPOINTMENTCONTACT

 CATEGORY                                            KEYWORDS

 MANAGER                                             LASTAUTHOR

 ENCRYPTED                                           FAMILYDATE


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 NATIVELINK                                          TEXTPATH

 REQUESTNO



    4. Format for hard copies of Documents produced in response to this Request:
                a.       Re-type the question or request to which the Documents respond and firmly
                         attach the Documents to the re-typed request;
                b.       Number all Documents consecutively, consistently with the numbers used
                         for the Documents produced electronically.

    5. Unless otherwise indicated, the relevant time period for this Request for Production of
        Documents is January 1, 1998 to the present.


    6. If no Documents responsive to a particular request exist, so state.


    7. As to any Document which no longer exists but which You are aware existed at one time,
        identify such Document with as much particularity as possible, and in addition, identify
        the last known location of the Document, the reason the Document is no longer in
        existence, and the person responsible for the Document’s disposition.


    8. For information that You withhold on the basis of privilege, provide a descriptive list of
        each Document stating the grounds for Your refusal and providing the following
        information: the name or title of the Document; a description of the nature and subject
        matter of the Document sufficient to enable a meaningful challenge to the assertion of
        privilege; the date, author(s), sender(s), and recipient(s) of the Document; and the nature
        of the privilege.


    9. These requests shall be deemed continuing in character so as to require prompt
        supplemental responses if additional Documents called for herein are obtained, discovered,
        or become known to You between the time of responding to the Requests and the final
        disposition of this action.

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        10. Social Security numbers may be redacted from documents to the extent required by
           applicable law.


III.       Requests for the Production of Documents
   1.      All Documents, Communications, and agreements related to Your employment by Jeffrey
   Epstein, including but not limited to:
           a.      Employment and severance agreements,
           b.      Non-disclosure agreements,
           c.      All payments, in any form, received from or on behalf of Jeffrey Epstein,
           d.      All Communications with Jeffrey Epstein, Ghislaine Maxwell, Bella Klein, Daphne
   Wallace, Harry Beller, Lesley Groff, Sarah Kellen a/ka Sarah Kensington a/k/a Sarah Vickers,
   Erika Kellerhals, Richard D. Kahn, and/or Darren K. Indyke.
   .




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